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IN TI-IE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND

 

BALTIMORE DIVISION

SANDRA R. PERRY *
1707 South Mill Drive
Salisbury, Maryland 21804 *

Plaintiff * Case No.:
v. * JURY TRIAL DEMAND
STATE OF MARYLAND *
200 Saint Paul Place
Baltimore, Maryland 21202 *

Serve On: Brian E. Frosh, Attorney General

Serve On:

V.

Offlce of the Attomey General
200 Saint Paul Place *
Baltimore, Maryland 21202

*
Nancy K. Kopp, Treasurer
State of Maryland Treasurer’s Offlce
Treasury Building, Room 109*
80 Calvert Street
Annapolis, Maryland 21401 *

*

MARYLAND DEPARTMENT OF HEALTH
201 West Preston Street
Baltimore, Maryland 21201

Serve On:

and

Dennis Schrader, Secretary
Maryland Departrnent of Health
Offlce of the Secretary *
201 West Preston Street, 5th Floor
Baltimore, Maryland 21201 *

DEER’S HEAD HOSPITAL CENTER *
351 Deer’s Head Hospital Road
Salisbuxy, Maryland 21802 *

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Serve On: Mary Beth Waide, Executive Director
Deer’s Head Hospital Center *
351 Deer’s Head Hospital Road
Salisbury, Maryland 21802 *

and *
MARY BETH WAIDE *
351 Deer’s Head Hospital Road
Salisbury, Maryland 21802 *
and *
KENNETH WALLER *
351 Deer’s Head Hospital Road
Salisbury, Maryland 21802 *
and *
ELIZABETH PERDUE *
3255 Phillips Road
Salisbury, Maryland 21804 *
and *
ALLEN JOHN PERDUE *
3255 Phillips Road
Salisbury, Maryland 21804 *
and *
LUANNE DASHIELD *
351 Deer’s Head I-Iospital Road
Salisbury, Maryland 21802 *
Defendants *
§Q_MLLLNF_I"QM_~M

UNDER TITLE VII OF THE CIVIL RIGHTS ACT
Plaintiff, Sandra R. Perry, by and through her undersigned counsel, J ames L. Otway,
Esquire, Amy L. Taylor, Esquire and Otway Russo, P.C. hereby files this Complaint against the

above captioned Defendants (hereinafter “Defendants”) seeking redress of violations of Title VII

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of the Civil Rights Act of 1964, as arnended, 42 U.S.C. §§ 2000e, et seq. (“Title VII”); and
Maryland State law, and for causes of action against said Defendants states as follows:
PARTIES

1. Plaintiff SANDRA R. PERRY (hereinafter “Ms. Perry”) was at all relevant time
hereto a paid, full - time, female Agency Procurement Specialist employed by the State of
Maryland, Department of Health at Deer’s Head Hospital Center, located in Salisbury,
Wicomico County, Maryland. Ms. Perry is a citizen of the United States and an adult resident of
the State of Maryland.

2. The STATE OF MAR¥LAND is a State of the United States.

3. The MARYLAND DEPARTMENT OF HEALTH, pursuant to Maryland Code,
Health-General § 2-102 is a principal department of the State of Maryland govemment.

4. DEER’S HEAD HOSPITAL CENTER (“DHHC”) is a state-owned and
operated rehabilitation and long term care inpatient facility.

5. MARY BETH WAIDE (“Ms. Waide”), at all relevant times, was the Executive
Director of DHHC. Ms. Waide, upon information and belief, at all relevant times, was a resident
of the State of Delaware.

6. KENNETH WALLER (“Mr. Waller”), at all relevant times, was the Chief
Financial Officer of DHHC. Mr. Waller, upon information and belief, at all relevant times, Was
a resident of the State of Maryland.

7. ELIZABETH PERDUE (“Mrs. Perdue”), at all relevant times, was the
immediate supervisor of Plaintiff Sandra Perry. Mrs. Perdue, upon information and belief, at all

relevant times, was a resident of the State of Maryland.

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8. ALLEN JOHN PERDUE (“Mr. Perdue”), at all relevant times, was the husband
of Elizabeth Perdue. Mr. Perdue, upon information and belief, at all relevant times, was a
resident of the State of Maryland.

9. LUANNE DASHIELD (Ms. Dashield”), at all relevant times, was the Human
Resources/Personnel Director and/or Chief Operating Officer/Assistant Superintendent at Deer’s
Head Hospital Center. Ms. Dashield, upon information and belief, at all relevant times, was a
resident of the State of Maryland.

JURISDICTION AND VENUE

10. This Court has jurisdiction over the subject matter of this complaint pursuant to
28 U.S.C. § 1331, 42 U.S.C. 2000e, et seq.; and 28 U.S.C. 1387, et seq.

l 1. Venue is proper in this Court pursuant to 28 U.S.C. § l39l(b) in that all or some
events or omissions giving rise to Plaintiff’s claims occurred in this judicial district and
Defendants may be found in this district.

FACTS COMMON TO ALL COUNTS

12. On August 30, 1995, Plaintiff Sandra R. Perry was hired by the State of Maryland
and began working in contract management services, From 2009 to 2017, Ms. Perry was
employed by the State of Maryland as an Agency Procurement Specialist II at DHHC.

13. In the position of Agency Procurement Specialist II at DHHC, Ms. Perry was
responsible for, among other duties, procuring equipment, services, supplies, and other needs,
which must be obtained through the competitive or negotiated procurement process. Ms. Perry
was responsible, among other duties, for soliciting, evaluating, negotiating and awarding
contracts, according to State Procurement laws, procedures and regulations, as well as

maintaining contracts by assuring compliance with terms and conditions.

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14. During her time as an Agency Procurement Specialist II at DHHC, Ms. Perry
received “Outstanding” performance reviews from her supervisor, Mrs. Perdue.

15. In addition, during the time that Mrs. Perdue supervised Ms. Perry, the two had a
successful and professional working relationship and one that was mutually respectful.

16. On October 1, 2015, Ms. Perry received a sexually harassing email message to her
work email address.

17. The email message came from leglover13@hotmai1.com and said: “are you an
exhibitionist? love those short skirts and your long legs. when you bent over your cheeks looked
great. do you go commando? my picture says so? need more personal contact. you might agree
by sending me proof and if you shave. I know you don’t Want this circulated.”

18. Ms. Perry did not recognize the email address and did not know who Would send
such a message to her.l l\/ls. Perry felt extremely uncomfortable and threatened by the email
message and reported it to her immediate supervisor, Mrs. Elizabeth Perdue, and her department
director, Mr. Kenneth Waller, that same day. Ms. Perry also contacted the Information
Technology (“IT”) Department at DHHC, that same day, in an attempt to seek information on
the sender of the email message

19. Mrs. Perdue did not respond to Ms. Perry’s complaint She remained quiet and
then walked away silently. Mr. Waller also took no action.

20. Later that same day, Ms. Perry determined, by performing a Google search that
the sexually harassing email message came from Allen John Perdue, who is the husband of Ms.

Perry’s immediate supervisor, Mrs. Beth Perdue.

 

' The emai| message was not filtered to her spam folder.

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21. That same day, Ms. Perry notified Mr. Waller and members of the IT staff that
she believed that the sender of the email was Allen John Perduez, who is the husband of Ms.
Perry’s immediate supervisor, Mrs. Beth Perdue.

22. Ms. Perry did not receive any response from Mr. Waller nor from any member of
the IT Department.

23. Later that day, Ms. Perry found a member of the IT staff, Mr. Phil Adkins, at her
desk on her computer. After Mr. Adkins logged off of her computer, Ms. Perry saw that the
obscene email message had been removed from her In Box. Ms. Perry questioned Mr. Adkins
about this, and his response was that he must have accidentally moved the email message Ms.
Perry retrieved the obscene email message from her spam folder to share with the Human
Resources Department.

24. Ms. Perry reported the email message and the lack of response by Mrs. Perdue,
Mr. Waller, and the IT Department, to the Human Resources Department at DHHC. Ms. Perry
requested that Ms. Dashield address the matter with Mrs. Perdue and preclude Mr. Perdue from
being allowed on the DHHC premises

25. After Ms. Dashield notified Mrs. Perdue of Ms. Perry’s complaint, Mrs. Perdue
initiated a pattern of hazing, harassment, hostility, and isolation directed at Ms. Perry. Mrs.
Perdue gave Ms. Perry the silent treatment, and would not communicate with Ms. Perry face to
face. Mrs. Perdue changed all of her interaction with Ms. Perry from face to face contact on a

daily basis, along with some email communication, to only very limited email communication

 

2 Mr. Perdue had visited his wife, Mrs. Perdue, at work on occasion. During the course of those visits, Ms. Perry
had met Mr. Perdue. Ms. Perry’s interaction with Mr. Perdue at the workplace was limited to polite conversation.
Mrs. Perdue had also included Ms. Perry and her husband on group emails from which Mr. Perdue may have
obtained Ms. Perry’s work email address.

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In addition, on several occasions, Mrs. Perdue became critical of Mr. Perry’s work performance
with no reasonable reason for doing so.

26. Ms. Perry complained to Mr. Waller and Ms. Dashield about Mrs. Perdue’s
hostility toward Ms. Perry; however, no corrective action was taken.

27. On October 30, 2015, Ms. Perry requested that she be removed from Mrs.
Perdue’s supervision, given the ongoing hostile treatment by Mrs. Perdue of Ms. Perry, but this
request was denied.

28. On October 30, 2015, Ms. Perry began medical treatment as a result of stress,
anxiety, and depression created by the sexual harassment and ensuing retaliation and hostile
work environment

29. On November 24, 2015, Ms. Perry received an email message from Ms. Dashield
informing Ms. Perry that she Was being temporarily assigned to the clerical position of
“timekeeping” until mid-March 2016, when that employee returned from medical leave, and that
Ms. Perry’s office had been relocated to an unoccupied area of the DHHC building, where she
was the only person working.

30. The clerical position of “timekeeping” was a lower-level, data entry position with
job duties that were very different from Ms. Perry’s job duties as an Agency Procurement
Specialist II.

31. Ms. Dashield told Ms. Perry that she “hoped” DHHC could find Ms. Perry “a
more suitable position” in March 2016.

32. Ms. Perry protested this “corrective action” because she felt Defendants were

punishing and retaliating against her for being the victim and speaking up.

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33. On December 4, 2015, Ms. Perry received an email message from Ms. Dashield
stating that Defendants were standing by their decision to reassign Ms. Perry’s position with a
reduction in duties and banish Ms. Perry to an unoccupied area of the DHHC building.

34. Upon hearing this news and as a result of the ongoing hostile work environment,
on December 4, 2015, Ms. Perry suffered a panic attack and presented to her primary care
provider, and Ms. Perry sought the treatment of a therapist. Ms. Perry’s medical providers
directed her to remain out of work beginning December 6, 2015, as a result of stress, anxiety,
and depression created by the sexual harassment and ensuing retaliation and hostile work
environment

35. From December 6, 2015 through February 28, 2016, a period of approximately 12
weeks, Ms. Perry was out of work on approved medical leave, as a result of the sexual
harassment and ensuing retaliation and hostile work environment

36. On January 8, 2016, management at DHHC was made aware that Ms. Perry
would be returning to work on February 28, 2016. On February 26, 2016, Ms. Perry was made
aware that she would be returning to her position under Mrs. Perdue’s supervision.

37. On February 11, 2016, Ms. Perry filed a Charge of Discrimination with EEOC,
alleging sexual harassment and retaliation.

38. On February 26, 2016, Mrs. Perdue sent an email message to all staff at DHHC
entitled “New procedures for purchasing” and demanding that all purchase orders be sent to her
only.

39. On February 29, 2016, Ms. Perry was excluded and not given any instruction or
work to do. Defendants did not provide Ms. Perry with access to the financial system (FMIS),

Excel, Word contract files, the purchasing directory, printer, or shared Google calendar, and her

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work credit card account had been closed. Ms. Perry had had access to all of these items before
taking medical leave.

40. Upon Ms. Perry’s return from medical leave, Mrs. Perdue began a practice of
slamming office doors, slamming filing drawers, and slamming restroom doors whenever Ms.
Perry was nearby.

41. Upon her return to work, Ms. Perry was told by the storeroom staff supply officer
that he had been training in procurement and had been using Ms. Perry’s desk in her absence.
Despite Ms. Perry returning to work, Mrs. Perdue and Mr. Waller continued to give tasks to the
storeroom staff supply officer that were done by Ms. Perry before her medical leave.

42. Mrs. Perdue changed the way that contract review was assigned between Ms.
Perry and Mrs. Perdue. Before October l, 2015, Ms. Perry and Mrs. Perdue split the contract
reviews evenly. Upon Ms. Perry’s return from medical leave, Mrs. Perdue completely changed
the functionality of the department from shared responsibility between Mrs. Perdue and Ms.
Perry (working independently) to Mrs. Perdue now assigning and approving all work (increascd
supervision).

43. On May 24, 2016, the storeroom staff supply officer who he had been training in
procurement reported for his last day of work, Defendants have not returned those duties and
responsibilities to Ms. Perry.

44. On May 26, 2016, Ms. Perry discovered through Workday (the State of Maryland
timekeeping system) that a 6~month performance review was initiated by Mr. Waller on Ms.
Perry on January 4, 2016, while Ms. Perry was on medical leave. Ms. Perry was given a rating
of “Satisfactory.” Previously, Ms. Perry had always received an “Outstanding” rating.

45. Defendants never met with Ms. Peny about the January 4, 2016, PEP.

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46. On June 23, 2016, when Ms. Perry was scheduled for her annual performance
review, Mrs. Perdue left a copy of the performance review in Ms. Perry’s in box with an email
stating that if Ms. Perry wanted to discuss it, to let her know. Like the mid-cycle PEP, Mrs.
Perdue rated Ms. Perry as “Satisfactory.” Again, prior to Ms. Perry’s complaints, Ms. Perry had
always received an “Outstanding” rating. And, again, Mrs. Perdue avoided any face to face
contact with Ms. Perry.

47. On April 10, 2017, Ms. Perry’s medical providers again put her out of work as a
result of stress, anxiety, and depression created by the sexual harassment and ensuing retaliation
and hostile work environment

48. Defendants approved Ms. Perry for medical leave, Ms. Perry used approximately
six weeks of sick leave that she had remaining and then was on medical leave without pay.

49. On or about June 27, 2017, Ms. Perry found out that Defendants first posted Mrs.
Perdue’s position3 on April 28, 2017, with an application closing date of May 19, 2017, A
person who was less-qualified than Ms. Perry was hired sometime in June 2017 to fill Mrs.
Perdue’s position at Agency Procurement Specialist Supervisor. The position posting, position
application closing date, and hiring for the position were all completed during Ms. Perry’s
medial leave.

50. On or about July 5, 2017, Ms. Perry’s scheduled day to return from medical leave,
Ms. Perry informed her employer that she was not medically cleared to return to work as a result
of stress, anxiety, and depression created by the sexual harassment and ensuing retaliation and

hostile work environment

 

3 Mrs. Perdue had made it well-known around the office that she planned to retire from her position in November or
December 2017. It was typical of the State of Maryland to post a position made vacant due to retirement
approximately two months before the planned retirement Ms. Perry anticipated that the vacancy of Mrs. Perdue’s
position would be posted sometime in August or September 2017.

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51. Defendants requested a Task Analysis from Ms. Perry’s medical provider. Her
medical provider completed a Task Analysis dated July 7, 2017,

52. On August 14, 2017, Defendants sent Ms. Perry for a Preliminary Evaluation by
the State Medical Director’s Office/WORKPRO Occupational Health, Robert Toney, M.D. in
Westminster, Maryland. Dr. Toney referred Ms. Perry for an Independent Psychological
Evaluation.

53. On August 23, 2017, Ms. Perry underwent a psychological evaluation by Dr.
Kimberly M. Deberry, a clinical psychologist

54. On September 7, 2017, Ms. Perry returned to Dr. Toney for a scheduled
Workability follow up visit. Dr. Toney produced a report regarding his findings dated
September 7, 2017. Dr. Toney opined that Ms. Perry “is not likely psychologically fit to
efficiently perform her job duties at her current location at Deer’s Head Hospital Center.” And
that Ms. Perry “would be able to perform the essential job duties of an Agency Procurement
Specialist in a different location.” Dr. Toney stated that it was his “recommendation that the
agency take the appropriate administrative actions in terms of her employment status as an
Agency Procurement Specialist II, unless she can be accommodated by working in a completely
different location with different management and different staff.”

55. In a letter dated September 12, 2017, from Ms. Dashield to Ms. Perry, Ms.
Dashield quoted parts of Dr. Toney’s report dated September 7, 2017, and stated that
reassignment to a different location was not an available accommodation because no vacancies
were posted and advised Ms. Perry that she could provide a list of reasonable accommodations

for consideration The letter concluded by stating that if accommodations cannot be granted,

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then Ms. Perry could resign her position or apply for disability or service retirement. And, if Ms.
Perry did not resign or retire, then she would be terminated

56. On September 20, 2017, the EEOC issued its Right to Sue Letter.

57. On September 25, 2017, feeling like she had no other option, Ms. Perry filed for
disability retirement with the State of Maryland. Ms. Perry has not received notice of acceptance
or denial of her disability retirement application as of the filing of this Complaint.

58. On October 9, 2017, more than 30 days after the date of Dr. Toney’s letter, Ms.
Perry received a Notice of Terrnination dated October 7, 2017, from Defendants The “Cause(s)
for Terrnination” were listed as “Comar 17.04.05.04 B” and then COMAR language is listed
from COMAR 17.04.05.03 B. It is not clear which regulation is the Cause for Termination.

59. On October 19, 2017, Ms. Perry filed an Appeal and Grievance Form related to
the Notice of Termination with Defendants. Ms. Perry has not received a response as of the
filing of this Complaint.

60. The continued hostility and retaliation by Defendants, among others, was done
intentionally and maliciously and for the purpose of intimidating Ms. Perry and it had the further
purpose and effect of creating a hostile work environment wherein it would be difficult or
impossible for her to adequately perform the responsibilities of her position as an Agency
Procurement Specialist II.

61. All of this conduct was intentional and committed because Ms. Perry filed a
Complaint of sexual harassment by Mr. Perdue, the husband of Mrs. Perdue who was Ms.

Perry’s immediate supervisor

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COUNT I
Violation of Title VII of the Civil Rights Act of 1964,
as amended 42 U.S.C. §§ 2000e et seq.
Discrimination Based on Sex
(Plaintiff v. All Defendants)

62. Plaintiff Perry incorporates herein by reference all of the allegations of
Paragraphs 1-61 above, as fully as if said allegations had been repeated at length herein and for a
cause of action against Defendants, states as follows:

63. Title VII of the Civil Rights Act of 1964 has been interpreted to include sexual
harassment as a form of sex discrimination making it an unlawful employment practice for an
employer to create or condone an atmosphere that is intolerably infused with sex-based rancor or
lewdness so as to alter the terms and conditions of employment

64. At all times relevant to this Complaint, the State of Maryland, Maryland
Department of Health, and DHHC were employers subject to provisions of Title VII.

65. At all times relevant to this Complaint, Plaintiff Perry was an employee entitled to
protection under Title VII.

66. Plaintiff Perry filed an EEOC claim and has received a Right to Sue letter from
the Equal Employment Opportunity Commission, a copy of which is attached hereto as Exhibit
l and this suit was commenced within the 90 days of the issuance of such letter.

67. All of the above is a direct and proximate result of the conduct of the individual
Defendants while acting individually and as the agents, servants, and officers or managers of the
State of Maryland, Maryland Department of Health, and/or DHHC.

68. In violation of Title VII, Defendants’ conduct as detailed above was motivated

and committed because of Plaintiff Perry’s sex, including Defendants knowingly and

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intentionally condoning an atmosphere that was intolerably infused with sex-based rancor or
lewdness as to change the terms and conditions of employment

69. Defendants failed to perform any investigation into the sexually obscene email
message, and instead actively participated in a cover-up of the email message, punishing Ms.
Perry for receiving and complaining about the obscenity.

70. Defendants failed to take any corrective action related to the sexually obscene
email message, and instead actively participated in a cover-up of the email message.

71. Defendants failed to follow its own policy regarding sexual harassment

72. Defendants’ conduct was severe and pervasive It persisted frequently and on a
nearly daily basis and for the entire duration of Plaintiff Perry’s employment after she received
the sexually obscene email message on October 1, 2015 until her termination in October 2017.
Defendants’ conduct altered Plaintiff Perry’s terms and conditions of employment and left her
unable to effectively do her job. Plaintiff Perry was subject to these disadvantageous terms and
conditions of employment that similarly situated male employees would not have been exposed.

73. Defendants had no legitimate business reason for such acts.

74. Defendants, at all relevant times, had actual and constructive knowledge of the
conduct described above.

75. As a result of such acts, Plaintiff Perry has suffered damages

WHEREFORE, Plaintiff demands damages and judgment against Defendants, jointly
and severally, in an amount which will compensate her for:
a. Violation of her rights under Title VII of the Civil Rights Act;
b. Back Pay and front pay and all lost benefits, and compensatory

damages for emotional distress and hardship created by Defendants’
discrimination;

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c. All fees, costs, and expenses, including attorneys’ fees and expert
fees;
d. Punitive damages against Defendants to punish them for their

willful, wanton, oppressive and malicious conduct;

e. Trial by jury on all issues so triable;
f. Pre-judgment and post-judgment interest; and
g. Such other and further relief to which Plaintiff may be entitled.
COUNT II
Violation of Title VII of the Civil Rights Act of 1964, as amended
42 U.S.C. §§ 2000e et seq.

Hostile Work Environment Based on Sex
(Plaintijy" v. AII Defendants)

76. Plaintiff Perry incorporates herein by reference all of the allegations of
Paragraphs 1-75 above, as fully as if said allegations had been repeated at length herein.

77. Title VII of the Civil Rights Act of 1964 states that it is an unlawful employment
practice for an employer to fail or refuse to hire or to discharge any individual, or otherwise to
discriminate against any individual with respect to her compensation, terms, conditions, or
privileges of employment, because of such individual’s sex.

78. A hostile work environment is a form of prohibited employment discrimination
where the employee is subjected to a work environment permeated with ridicule and humiliation
that substantially alters the work environment

79. At all times relevant to this Complaint, the State of Maryland, Maryland
Department of Health, and DHHC were employers subject to provisions of Title VII.

80. At all times relevant to this Complaint, Plaintiff Perry was an employee entitled to

protection under Title VII.

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81. Plaintiff Perry filed an EEOC claim and has received a Right to Sue letter from
the Equal Employment Opportunity Commission, a copy of which is attached hereto as Exhibit
1 and this suit was commenced within the 90 days of the issuance of such letter.

82. All of the above is a direct and proximate result of the conduct of the individual
Defendants while acting individually and as the agents, servants, and officers or managers of the
State of Maryland, Maryland Department of Health, and/or DI-lI-IC.

83. In violation of Title VII, Defendants’ conduct as detailed above was motivated
and committed because of Plaintiff Perry’s sex, including Defendants knowingly and
intentionally giving her the silent treatment, refusing to communicate with her face to face,
avoiding oral communication with Ms. Perry, unreasonably criticizing her work, excluding her
from meetings, issuing her satisfactory performance evaluations, moving her to a low-level,
clerical position doing data entry, isolating her office to an unoccupied area of the DHHC
building, removing duties and responsibilities from Ms. Perry, removing her access and
privileges to departmental equipment and documents, increasing supervision of Ms. Perry,
avoiding oral communication with Ms. Perry, issuing her a Memorandum of Counseling, and
terminating her.

84. Defendants’ conduct was severe and pervasive It persisted frequently and on a
nearly daily basis and for the entire duration of Plaintiff Perry’s employment after she received
the sexually obscene email message on October 1, 2015 until her termination in October 2017.
Defendants’ conduct altered Plaintiff Perry’s terms and conditions of employment and left her
unable to effectively do her job. Plaintiff Perry was subject to these disadvantageous terms and
conditions of employment that similarly situated male employees would not have been exposed.

85. Defendants had no legitimate business reason for such acts.

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86. Defendants, at all relevant times, had actual and constructive knowledge of the
conduct described above.
87. As a result of such acts, Plaintiff Perry has suffered damages

WHEREFORE, Plaintiff demands damages and judgment against Defendants, jointly

and severally, in an amount which will compensate her for:

a) Violation of her rights under Title VII of the Civil Rights Act;

b) Back Pay and front pay and all lost benefits, and compensatory damages for
emotional distress and hardship created by Defendants’ discrimination and
hostility;

c) All fees, costs, and expenses, including attorneys’ fees and expert fees;

d) Punitive damages against Defendants to punish them for their willful, wanton,
oppressive and malicious conduct;

e) Trial by jury on all issues so triable;
f) Pre-j udgment and post-judgment interest; and
g) Such other and further relief to which Plaintiff may be entitled.
§_Ql_llil_lll.
Violation of Title VII of the Civil Rights Act of 1964, as amended
42 U.S.C. §§ 2000e et seq.
Retaliation
(Plaintq'/_`f v. All Defendants)
88. Plaintiff Perry incorporates herein by reference all of the allegations of
Paragraphs 1-87 above, as fully as if said allegations had been repeated at length herein.
89. Title VII of the Civil Rights Act of 1964 and the case law stemming from Title
VII make it an unlawful employment practice for an employer to retaliate against employees who
make complaints because retaliation contravenes the civil rights laws.

90. At all times relevant to this Complaint, the State of Maryland, Maryland

Department of Health, and DHHC were employers subject to provisions of Title VII.

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91. At all times relevant to this Complaint, Plaintiff Perry was an employee entitled to
protection under Title VII.

92. Plaintiff Perry filed an EEOC claim and has received a Right to Sue letter from
the Equal Employment Opportunity Commission, a copy of which is attached hereto as Exhibit
1 and this suit was commenced within the 90 days of the issuance of such letter.

93. All of the above is a direct and proximate result of the conduct of the individual
Defendants while acting individually and as the agents, servants, and officers or managers of the
State of Maryland, Maryland Department of Health, and/or DHHC.

94. In violation of Title VII, Defendants’ conduct as detailed above was motivated
and committed because of Plaintiff Perry’s sex and because she made a complaint about the
sexually obscene email message Defendants retaliated against her for reporting the sexual
harassment by knowingly and intentionally giving her the silent treatment refusing to
communicate with her face to face, avoiding oral communication with Ms. Perry, unreasonably
criticizing her work, excluding her from meetings, issuing her satisfactory performance
evaluations, moving her to a low-level, clerical position doing data entry, isolating her office to
an unoccupied area of the DHHC building, removing duties and responsibilities from Ms. Perry,
removing her access and privileges to departmental equipment and documents, increasing
supervision of Ms. Perry, avoiding oral communication with Ms. Perry, issuing her a
Memorandum of Counseling, posting, interviewing and hiring for her supervisor’s position while
Ms. Perry was on medical leave, and terminating her.

95. Defendants’ conduct was severe and pervasive. lt persisted frequently and on a
nearly daily basis and for the entire duration of Plaintiff Perry’s employment after she received

the sexually obscene email message on October l, 2015 until her termination in October 2017.

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Defendants’ conduct altered Plaintiff Perry’s terms and conditions of employment and left her
unable to effectively do her job.
96. Defendants had no legitimate business reason for such acts,
97. Defendants, at all relevant times, had actual and constructive knowledge of the
conduct described above.
98. As a result of such acts, Plaintiff Perry has suffered damages
WHEREFORE, Plaintiff demands damages and judgment against Defendants, jointly
and severally, in an amount which will compensate her for:
a) Violation of her rights under Title VII of the Civil Rights Act;
b) Back Pay and front pay and all lost benefits, and compensatory damages for
emotional distress and hardship created by Defendants’ discrimination,
hostility, and retaliation;

c) All fees, costs, and expenses, including attorneys’ fees and expert fees;

d) Punitive damages against Defendants to punish them for their willful,
wanton, oppressive and malicious conduct;

e) Trial by jury on all issues so triable;

f) Pre-j udgment and post-judgment interest; and

g) Such other and further relief to which Plaintiff may be entitled.

COUNT IV
Civil Conspiracy
(Plaint¢_'ff v. All Defendants)
99. Plaintiff Perry incorporates herein by reference all of the allegations of
Paragraphs 1-96 above, as fillly as if said allegations had been repeated at length herein.

100. This Court has supplemental jurisdiction over this State claim pursuant to the

provisions of28 U.S.C. 1387, et seq.

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101. All of the above is a direct and proximate result of the conduct of the individual
Defendants while acting individually and as the agents, servants, and officers or managers of the
State of Maryland, Maryland Department of Health, and/or DHHC.

102. Ms. Perry filed proper, timely, written notice of her claim in a letter to Maryland
Treasurer, Nancy K. Kopp, dated January 20, 2017, pursuant to the Maryland Tort Claims Act
And Ms. Perry received a final denial of her claim from Treasurer Kopp in a letter dated January
26, 2017.

103. Defendants, by agreement or understanding, committed the unlawful or tortious
acts detailed above in furtherance of their own personal and economic interests and to the
detriment of Ms. Perry.

104. Such civil conspiracy was willful, wanton, oppressive, and malicious conduct

105. As a result of such acts, Plaintiff Perry has suffered damages

WHEREFORE, Plaintiff demands damages and judgment against Defendants, jointly
and Severally, in an amount which will compensate her for:

a) Compensatory damages, including economic and non-economic damages,
created by Defendants’ civil conspiracy;

b) All fees, costs, and expenses, including attomeys’ fees and expert fees;

c) Punitive damages against Defendants to punish them for their willful,
wanton, oppressive and malicious conduct;

d) Trial by jury on all issues so triable;
e) Pre-judgment and post-judgment interest; and

f) Such other and further relief to which Plaintiff may be entitled.

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COUNT V
Intentional Infliction of Emotional Distress
(Plaintiff v. All Defendanls)

106. Plaintiff Perry incorporates herein by reference all of the allegations of
Paragraphs 1-105 above, as fully as if said allegations had been repeated at length herein.

107 . This Court has supplemental jurisdiction over this State claim pursuant to the
provisions of 28 U.S.C. 1387, et seq.

108. Ms. Perry filed proper, timely, written notice of her claim in a letter to Maryland
Treasurer, Nancy K. Kopp, dated January 20, 2017, pursuant to the Maryland Tort Claims Act.
And Ms. Perry received a final denial of her claim from Treasurer Kopp in a letter dated January
26, 2017.

109. During the period of time that Plaintiff Perry was employed by Defendants, she
was repeatedly threatened, harassed, and intimidated by the individual Defendants acting on their
own behalf and as the agents, servants, employees, officers, managers and supervisors of the
State of Maryland, Maryland Department of Health, and DHHC.

110. Some of the acts of Defendants are identified above and include, but are not
limited to, giving her the silent treatment, refusing to communicate with her face to face,
avoiding oral communication with Ms. Perry, repeatedly slamming the door between her office
and Mrs. Perdue’s office, unreasonably criticizing her work, excluding her from meetings,
issuing her satisfactory performance evaluations, moving her to a low-level, clerical position
doing data entry, isolating her office to an unoccupied area of the DHHC building, removing
duties and responsibilities from Ms. Perry, removing her access and privileges to departmental
equipment and documents, increasing supervision of Ms. Perry, avoiding eye contact With Ms.

Perry, avoiding oral communication with Ms. Perry, issuing her a Memorandum of Counseling,

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posting, interviewing and hiring for her supervisor’s position while Ms. Perry was on medical
leave, and terminating her.

111. Defendants placed Plaintiff Perry in a position where it was difficult or impossible
for her to perform the duties of her position Defendants are responsible for such acts and
omissions of the individual Defendants,

112. The conduct of the individual Defendants was persistent, intentional, and reckless
and done knowing it was likely to cause Plaintiff Perry to suffer severe emotional distress

113. Defendants’ conduct did in fact cause Plaintiff Perry to suffer severe emotional
distress, anxiety, depression, Post-Traumatic Stress Disorder (“PTSD”), and emotional pain and
suffering together with physical manifestations of nausea, vomiting, diarrhea, headache,
nervousness, insomnia, and difficulty breathing

114. Defendants’ conduct was extreme and outrageous and beyond the bounds of
decency. It was intentional, malicious, and willful and done after repeated requests for cessation
with the specific intent to injure Plaintiff Perry and to force her into resigning her position with
the State of Maryland.

115. As a direct and proximate result of the intentional acts of Defendants, Plaintiff
Perry was caused to suffer extreme emotional, mental, and physical distress

WHEREFORE, Plaintiff demands damages and judgment against Defendants, jointly
and severally, in an amount which will compensate her for:

a) Compensatory damages for emotional distress and hardship created by
Defendants’ discrimination, hostility, and retaliation;

b) All fees, costs, and expenses, including attorneys’ fees and expert fees;

c) Punitive damages against Defendants to punish them for their willful,
wanton, oppressive and malicious conduct;

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d) Trial by jury on all issues so triable;

e) Pre-judgment and post-judgment interest; and

f) Such other and further relief to which Plaintiff may be entitled.

Date: December (0 ,2017

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J ames L. Otway, Esquire(
(Federal Bar #22717)

jotway@otwayrusso. com

Amy L. Taylor, Esquire
(Federal Bar #18425)
ataylor@otwayrusso.com

OTWAY RUSSO, P.C.
108 West Main Street
Salisbury, Maryland 21801
Telephone 4 l 0-749-3 900
Facsimile 410-749-8577
Attorneys for Plaintiyjf

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EXhibit 1

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Woshington. DC 20530

 

 

September 20, 201 7

Ms. Sandra Perry

c/o Ashley A. Bosche, Esquire

Law Ot`ficcs oi` Cockey, Brennan & Ma|oney
313 Lemmon Hill Lane

Salisbury, MD 21801

Re: EEOC Charge Against Deer's Head Hospital Center
No. 531201600813

Dear Ms. Perry:

Because you filed the above charge with the Equal Employment Opportunity Commission, and
more than 180 days have elapsed since the date the Comniission assumed jurisdiction over the charge,
and no suit based thereon has been filed by this Department, and because you through your attorney
have specifically requested this Notice, you are hereby notified that you have the right to institute a
civil action under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. 2000e, et seq.,
against the above-named respondent

lf you choose to commence a civil action, such suit must be filed in the appropriate Court within
90 days of your receipt of this Notice.

The investigative file pertaining to your case is located in the EEOC Ba|timore District Office,
Baltimore, MD.

This Notice should not be taken to mean that the Department of Justice has made a judgment as to
whether or not your case is meritorious

Sincerely,

John M. Gore
Acting Assistant Attomey General
Civil Rights Division

by l{a,a,_t.”A-t

Karen L. Ferguson
Supervisory Civil Rights Ana|yst
Employment Litigation Section

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Deer‘s Head Hospital Center

